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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-698V
                                    Filed: January 19, 2018
                                        UNPUBLISHED


    JULIUS VINE,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Michael Avrim Firestone, Marvin Firestone, MD, JD and Associates, San Mateo, CA, for
      petitioner.
Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
       On May 25, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that, after receiving an influenza vaccination on September 30,
2015, he “suffered the Table Injury known as Shoulder Injury Related to Vaccine
Administration (SIRVA) . . . [or] [i]n the alternative . . . suffered some form of
neurological syndrome or physical injury, either or all of which was caused-in-fact by the
above stated vaccination.” Petition at 1 (internal quotations omitted); accord. id. at ¶¶ 2,
34. Petitioner further alleges that he received the vaccination in the United States, has
suffered the residual effects of his injury for more than six months, and has not received


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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an award or settlement for his injury alleged to be vaccine caused. Id. at ¶¶ 2, 36-37.
The case was assigned to the Special Processing Unit of the Office of Special Masters.
       On January 17, 2018, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “has concluded that petitioner suffered a left SIRVA injury
as defined by the Vaccine Injury Table.” Id. at 5. Respondent further agrees that
“based on the records as it now stands, petitioner has satisfied all legal prerequisites for
compensation under the Act.” Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.


                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
